             Case 1:17-cr-02558-MV Document 22 Filed 10/03/18 Page 1 of 4




                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                                  )
                                                           )
                Plaintiff,                                 )       CRIMINAL NO. 17-2558 MV
                                                           )
       vs.                                                 )
                                                           )
ARTHUR PERRAULT,                                           )
                                                           )
                Defendant.                                 )

                                      PROTECTIVE ORDER

       Pursuant to Federal Rule of Criminal Procedure 16(d)(1), the Court enters this Protective

Order upon the unopposed motion of the United States, for the purpose of assuring the protection

of certain information that may be produced to Arthur Perrault or his counsel (collectively,

“Defendant”) by or on behalf of the United States or any agency thereof (collectively, the

“United States”) in the course of this action.

       1.       As used in this Protective Order, the term “Protected Information” includes any

information that is disclosed by the United States to Defendant in the course of this action,

regardless of whether such production is required by statute or rule, and which reflects any of the

following information as it pertains to an individual or individuals other than Defendant:

                a.      The name, date of birth, mailing or street address, telephone number,

       email address, or any other identifying information that can be used, alone or in

       conjunction with any other information, to identify any person who alleges that

       Defendant abused that person, including individuals not specified in the indictment.

                b.      For all individuals, including those covered by paragraph (1)(a):

                        i.       All medical information, including any information covered by
            Case 1:17-cr-02558-MV Document 22 Filed 10/03/18 Page 2 of 4




               HIPAA, such as information concerning psychiatric or psychological treatment or

               counseling;

                      ii.     All financial information, including bank statements and account

               numbers;

                      iii.    The first five (5) digits of any social security number; and

                      iv.     The first five (5) digits of any taxpayer identification number.

       2.      The United States shall designate information as subject to this Protective Order by

marking it as “Protected Information.” Electronic or digital storage devices containing Protected

Information should be labeled on the outside of the media as “Protected Information.”

               a.     The defendant’s counsel may, at his request, inspect the original documents

       disclosed by the United States as Protected Information at a reasonable time before trial.

               b.      Protected Information furnished by the United States should only be used

       as necessary for conducting pre-trial, trial, and appellate proceedings in this case and for

       no other purposes whatsoever.

               c.      Nothing in this Order shall in any way preclude or restrict the right of any

       party to use, refer to, or recite any Protected Information in connection with any

       pleadings or motions provided that such materials is filed under seal. Specific procedures

       concerning the use of Protected Information at trial or at pre-trial or post-trial hearings will

       be resolved at or before the time of the trial or hearing in question.

       3.             Protected information is automatically subject to the terms of this

Protective Order and need not be noticed or designated with any greater specificity.

       4.      Protected information:

               a. Shall be used by Defendant only for purposes of this action.
             Case 1:17-cr-02558-MV Document 22 Filed 10/03/18 Page 3 of 4




                b. Shall not be published to the public in any form by Defendant.

                c. Shall be disclosed by Defendant only to the following persons:

                        i. Defendant, including any attorneys employed by a law firm of record

                           that represents Defendant in this action;

                       ii. Secretarial, clerical, paralegal, or student personnel employed full-time

                           or part-time by attorneys or a law firm that represents Defendant in

                           this action.

                      iii. Independent (non-employee) expert witnesses or advisors retained by

                           Defendant in connection with this action;

                      iv. Such other persons as hereafter may be authorized by agreement of the

                           parties or by the Court upon motion of either party.

        5.      A copy of this Protective Order shall be delivered to Defendant and to each

person within categories (ii), (iii) and (iv) of paragraph 4(c), above, to whom a disclosure of

Protected Information is made, at or before the time of disclosure.     Defendant’s counsel shall

review with such individuals the requirements imposed by this Protective Order, and the

provisions of this Protective Order shall be binding upon each such person to whom disclosure is

made.

        6. The provisions of this Protective Order shall not be construed as preventing:

                a. Any disclosure of information subject to the Protective Order by or on behalf

                   of the United States;

                b. Any disclosure of information subject to the Protective Order to any judge,

                   magistrate, or employee of this Court for purposes of this action.

        7.      This Protective Order shall not: (a) operate as an admission by any party that any
             Case 1:17-cr-02558-MV Document 22 Filed 10/03/18 Page 4 of 4




particular material contains or reflects matter or information otherwise protected from discovery

or disclosure; (b) prejudice in any way the right of the United States to object to the conduct of

further discovery or disclosure of documents it considers not subject to, or otherwise protected

from discovery or disclosure; (c) prejudice in any way the right of either party to seek a Court

determination (i) whether particular material should be produced or (ii) if produced, whether

such material should be subject to the terms of this Protective Order; or (d) prejudice in any way

the right of the United States to apply to the Court for a further protective order.

       8.       Unless an alternative agreement is reached by the parties, upon the conclusion of

this litigation (including all appeals and collateral actions), all Protected Information supplied by

the United States subject to this Protective Order and all copies thereof, shall be returned to the

party or entity having produced such material, or such material shall be certified to have been

destroyed.



                                                       ______________________________
                                                       HON. MARTHA VAZQUEZ
                                                       UNITED STATES DISTRICT JUDGE


Respectfully submitted:

Holland S. Kastrin
Sean J. Sullivan
Assistant United States Attorney

Approved by Samuel L. Winder 09/27/2018
